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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division


 TIARA WILLIAMS, ADMINISTRATOR OF
 THE ESTATE OF TRACEY ASHANTI
 WILLIAMS, DECEDENT,

      Plaintiff,

 v.                                                  Case No. 3:22-cv-762-REP

 RICHARD DANIEL JOHNSON, IN HIS
 INDIVIDUAL CAPACITY, THE CITY OF
 RICHMOND, A BODY POLITIC AND
 CORPORATE,

      Defendants.


                                              NOTICE

         Plaintiff, Tiara Williams, Administrator of the Estate of Tracey Ashanti Williams,

Decedent, by counsel, hereby gives notice to this Honorable Court that the approved settlement

funds in this matter have been paid in full, and this matter is ripe for final disposition.



Dated: May 3, 2023



s/
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                                     CERTIFICATE

       I hereby certify that on the 3rd day of May, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, which will send notification of such filing to all
counsel of record.


                                             s/
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